     Case 3:19-cv-02301-L-BN Document 9 Filed 10/23/19                Page 1 of 5 PageID 53


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

MICAH CROFFORD BROWN,                             §
TDCJ No. 999580,                                  §
                                                  §
                 Petitioner,                      §
                                                  §
v.                                                §
                                                  §     No. 3:19-CV-2301-L
LORIE DAVIS, Director, Texas                      §
Department of Criminal Justice,                   §
Correctional Institutions Division,               §
                                                  §
                 Respondent.                      §

                 MOTION APPOINTING COUNSEL AND SETTING DEADLINES

        Petitioner Micah Crofford Brown’s state habeas counsel filed a motion September 27, 2019

(ECF no. 1), in this federal habeas corpus proceeding requesting appointment of qualified counsel

to represent Petitioner in a challenge to his capital murder conviction and sentence of death.

Background

        In May 2013, a Hunt County jury convicted Petitioner of capital murder and returned its

answers to the Texas capital sentencing special issues.    In June 2013, the trial court imposed a

sentence of death.     The Texas Court of Criminal Appeals affirmed Petitioner’s conviction and

sentence.   Brown v. State, AP-77,019, 2015 WL 5453765 (Tex. Crim. App. Sept. 16, 2015).

The Texas Court of Criminal Appeals subsequently denied Petitioner’s application for state habeas

corpus relief.    Ex parte Micah Crofford Brown, WR-85,341-01, 2019 WL 4317041 (Tex. Crim.

Ap. Sept. 11, 2019).

Motion for Appointment of Counsel

        Title 18 U.S.C. § 3599 entitles indigent defendants to the appointment of counsel in capital

cases, including habeas corpus proceedings. Christeson v. Roper, 574 U.S. 373, ___, 135 S. Ct.
                                             1
   Case 3:19-cv-02301-L-BN Document 9 Filed 10/23/19                 Page 2 of 5 PageID 54


891, 893 (2015); Martel v. Clair, 565 U.S. 648, 652 (2012). A capital defendant may invoke this

right to a counseled federal habeas corpus proceeding by filing a motion requesting the

appointment of habeas counsel and a district court has jurisdiction to enter a stay of execution

where necessary to give effect to that statutory right. McFarland v. Scott, 512 U.S. 849, 859

(1994) (discussing the statutory predecessor to § 3599 formerly found at 21 U.S.C. § 848).

Capital defendants have a mandatory right to qualified legal counsel in these proceedings. Id.

After having reviewed the advisory filed by the Federal Public Defender for the Northern District

of Texas (ECF no. 8), the Court will grant Petitioner’s motion for appointment of counsel and

appoint the counsel requested by Petitioner.

       It is ORDERED that:

       1. Petitioner’s motion for appointment of counsel, filed September 27, 2019, (ECF no. 1),

is GRANTED as follows: in accordance with Title 18 U.S.C. Section 3599, the Capital Habeas

Unit in the Office of the Federal Public Defender for the Western District of Texas, whose mailing

address is 919 Congress, Suite 950, Austin, Texas 78701, and whose office telephone number is

(737) 207-3008, is appointed counsel of record for Petitioner.

       2. On or before May 1, 2020, Petitioner shall file, and serve on the Post-Conviction

Litigation Division of the Office of the Texas Attorney General, his federal habeas corpus petition

in this cause. Petitioner’s petition shall (1) comply in all respects with Rule 2(c) of the Rules

Governing Section 2254 Cases in the United States District Courts and (2) set forth the factual and

legal basis for all grounds for federal habeas corpus relief under Title 28 U.S.C. §2254 that

Petitioner wishes this Court to consider in connection with his capital murder conviction and

sentence of death.

       3.   Respondent shall file his answer to Petitioner’s federal habeas corpus or other

                                                2
   Case 3:19-cv-02301-L-BN Document 9 Filed 10/23/19                  Page 3 of 5 PageID 55


responsive pleading on or before ninety days after receipt of a copy of Petitioner’s federal habeas

corpus petition.    Respondent’s answer or other responsive pleading shall conform to the

requirements of Rule 5 of the Rules Governing Section 2254 Cases in the United States District

Courts and Rule 12 of the Federal Rules of Civil Procedure. Respondent shall serve Petitioner’s

counsel of record with a copy of said answer or other responsive pleading in accordance with the

provisions of Rule 5(b) of the Federal Rules of Civil Procedure.

       4. Exhaustion and Procedural Bar Issues. Respondent shall clearly and directly respond

to the issue of whether Petitioner has exhausted available state remedies with regard to each of the

grounds for federal habeas corpus relief set forth in Petitioner’s federal habeas corpus petition. If

Respondent denies that Petitioner has exhausted available state remedies with regard to each

ground for federal habeas corpus relief set forth in Petitioner’s petition, Respondent shall explain,

in detail, those state remedies still available to Petitioner with regard to each such unexhausted

claim. In the event that Respondent wishes to assert the defense that Petitioner has procedurally

defaulted on any ground for relief contained in Petitioner’s federal habeas corpus petition,

Respondent shall explicitly assert that defense and identify with specificity which of the

Petitioner’s grounds for relief Respondent contends are procedurally defaulted from consideration

by this Court.

       5. Abuse of the Writ. In the event Respondent wishes to assert the defense that Petitioner

has abused the writ, Respondent shall explicitly assert that defense and identify with specificity

which of the Petitioner’s grounds for relief herein were either included in a prior federal habeas

corpus petition or could, with the exercise of due diligence on Petitioner’s part, have been included

in an earlier federal habeas corpus petition filed by Petitioner.

       6. Second or Successive Petition. In the event Respondent wishes to assert the defense

                                                  3
   Case 3:19-cv-02301-L-BN Document 9 Filed 10/23/19                    Page 4 of 5 PageID 56


that this is a second or successive federal habeas corpus petition filed by Petitioner attacking the

same state criminal judgment and that the Petitioner has failed to comply with the requirements of

Title 28 U.S.C. §2244, Respondent shall explicitly assert that defense.

        7.   Limitations.   In the event that Respondent wishes to assert the defense that the

Petitioner has failed to file this federal habeas corpus action within the one-year statute of

limitations set forth in Title 28 U.S.C. §2244(d), Respondent shall explicitly assert that defense

and identify with specificity the date on which the one-year limitations period applicable to

Petitioner’s federal habeas corpus petition began to run and all time periods, if any, during which

that limitations period was tolled.

        8. State Court Records. On or before thirty days after the date Respondent files his

answer or other responsive pleading in this cause, Respondent shall submit to the Clerk of this

Court true and correct copies of all pertinent state court records from Petitioner’s state trial, direct

appeal, and state habeas corpus proceedings. In the event that Petitioner asserts a claim or claims

for relief premised upon alleged violations of the rule announced in Batson v. Kentucky, 476 U.S.

79 (1986), Respondent shall include copies of all juror questionnaires answered by any and all

members of the jury venire from which Petitioner’s petit jury was selected.

        9.   Petitioner’s Reply.      On or before thirty days after the date Respondent serves

Petitioner’s counsel of record with a copy of Respondent’s answer or other responsive pleading,

Petitioner shall file with the Clerk of this Court and serve on Respondent’s counsel of record any

reply he wishes to make to Respondent’s answer or other responsive pleading.

        10. Extensions. Any party seeking an extension on any of the foregoing deadlines shall

file a written motion requesting such extension prior to the expiration of the deadline in question

and shall set forth in such motion a detailed description of the reasons why that party, despite the

                                                   4
   Case 3:19-cv-02301-L-BN Document 9 Filed 10/23/19                   Page 5 of 5 PageID 57


exercise of due diligence, will be unable to comply with the applicable deadline.

         11. Filing Fee. On or before ten days from the date of this Order, Petitioner shall either

(1) pay the five-dollar filing fee in this cause to the Clerk of this Court or (2) file a completed

application for leave to proceed in forma pauperis, including a certified copy of Petitioner’s inmate

trust account statement available from the law librarian at Petitioner’s TDCJ facility.

         12. Petitioner is advised that his court-appointed counsel is not required to accept collect

telephone calls from Petitioner or any person acting on Petitioner’s behalf and that said counsel is

not required to expend said counsel’s own funds to investigate any claim or potential claim in this

cause.

         13.   The Clerk shall send a copy of this Order via first class mail with a receipt

acknowledgment card enclosed or attached to (1) Petitioner, (2) Petitioner’s counsel of record, and

(3) the Criminal Appeals Division of the Office of the Attorney General of the State of Texas,

attention Erich Dryden.

         14. All pleadings, motions, and other documents filed in this cause shall conform in all

respects to this Court’s Local Rules.

         SIGNED October 23, 2019.



                                                   ____________________________________
                                                   REBECCA RUTHERFORD
                                                   UNITED STATES MAGISTRATE JUDGE




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